                 UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

IN RE:                                         Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                         Chapter 11

                   Debtor.                     Honorable Mark A. Randon



 ORDER SUSTAINING SECOND OMNIBUS OBJECTION OF THE HFV
LIQUIDATING TRUST TO (A) NO LIABILITY CLAIMS, (B) SATISFIED
         CLAIMS, AND (C) CLAIMS TO BE MODIFIED

      Upon the second omnibus objection (the “Second Omnibus Claims

Objection”) of the HFV Liquidating Trust (the “Trust”), for entry of an order

(this “Order”), (a) disallowing the Claims set forth on Schedules 12 attached hereto

and (b) modifying and/or reclassifying the claims listed on Schedule 3 attached

hereto, and as more fully set forth in the Second Omnibus Claims Objection; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding

and the Second Omnibus Claims Objection in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Second Omnibus Claims Objection is in the best interests of the Trust, its

creditors, and other parties in interest; and this Court having found that the Trust’s



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notice of the Second Omnibus Claims Objection and opportunity for a hearing on

the Second Omnibus Claims Objection were appropriate under the circumstances

and no other notice need be provided; and this Court having reviewed the Second

Omnibus Claims Objection and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Second Omnibus

Claims Objection and at the Hearing establish just cause for the relief granted herein;

and upon all of the proceedings held before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.     The Second Omnibus Claims Objection is sustained as set forth herein.

       2.     The No Liability Claims set forth on Schedule 1 are disallowed and

expunged in their entirety.

       3.     The Satisfied Claims on Schedule 2 are disallowed and expunged in

their entirety.

       4.     The Modified Claims are hereby modified and/or priority status

reflected in the column titled “Modified Claims” on Schedule 3 to this Order. The

Modified Claims will remain on the claims register maintained by the Trust

(the “Claims Register”) and such Claims are neither allowed nor disallowed at this

time and remain subject to future objection on any basis. Nothing contained herein




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shall constitute, nor shall it be deemed to constitute, the allowance of any of the

Modified Claims.

      5.     Each objection by the Trust to each Claim addressed in the Second

Omnibus Claims Objection and as identified in Schedules 1–3 constitutes a separate

contested matter as contemplated by Bankruptcy Rule 9014. This Order shall be

deemed a separate order with respect to each Claim. Any stay of this Order pending

appeal by any claimant subject to this Order shall only apply to the contested matter

that involves such claimant and shall not act to stay the applicability or finality of

this Order with respect to the other contested matters covered hereby.

      6.     The Trust’s claims agent is authorized and directed to modify the

Claims Register in accordance with entry of the relief granted in this Order.

      7.     Nothing in this Order shall affect the Trust’s right to object to the

Claims or any other Proofs of Claim at a future date on any basis.

      8.     Notwithstanding the relief granted in this Order and any actions taken

pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as to

the validity, priority, or amount of any particular claim; (b) a waiver of the Trust’s

right to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Order or the Second Omnibus Claims Objection;

(e) a request or authorization to assume any agreement, contract, or lease pursuant



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to section 365 of the Bankruptcy Code; or (f) a waiver or limitation of the Trust’s

rights under the Bankruptcy Code or any other applicable law. Any payment made

pursuant to this Order should not be construed as an admission as to the validity,

priority, or amount of any particular claim or a waiver of the Trust’s right to

subsequently dispute such claim.

      9.     The Trust is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Second Omnibus Claims

Objection.

      10.    This Court retains exclusive jurisdiction with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this

Order.




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                                                                             Schedule 1
                                                                          No Liability Claims
                                                                                                                                                             Reason for
    Name of Claimant              Debtor Name                Schedule #   Claim #   Date Filed   Current Claim Amounts             Proposed Treatment         Objection
1   AIG PROPERTY CASUALTY, INC.   Henry Ford Village, Inc.                  288     4/20/2021              Administrative: $0.00    Disallow & Expunge   No Liability - Filed as
                                                                                                                Secured: $0.00                                $0 or Fully
                                                                                                                 Priority: $0.00                             Unliquidated
                                                                                                      General Unsecured: $0.00

                                                                                                                    Total: $0.00


2   ZURICH-AMERICAN INSURANCE     Henry Ford Village, Inc.                  32      12/8/2020             Administrative: $0.00    Disallow & Expunge    No Liability - Filed as
    COMPANY                                                                                                     Secured: $0.00                                $0 or Fully
                                                                                                                 Priority: $0.00                             Unliquidated
                                                                                                      General Unsecured: $1.00

                                                                                                                    Total: $1.00



    TOTALS                                                                                                                $1.00




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                                                                            Schedule 2
                                                                          Satisfied Claims
                                                                                                                                                            Reason for
    Name of Claimant             Debtor Name                Schedule #   Claim #   Date Filed   Current Claim Amounts               Proposed Treatment       Objection
1   AETNA, INC.                  Henry Ford Village, Inc.                  155     2/23/2021              Administrative: $0.00      Disallow & Expunge   Satisfied by Cure
                                                                                                               Secured: $0.00
                                                                                                                Priority: $0.00
                                                                                                 General Unsecured: $1,827.80

                                                                                                               Total: $1,827.80


2   AT & T                       Henry Ford Village, Inc.    2377784                                      Administrative: $0.00     Disallow & Expunge    Satisfied by Cure
                                                                                                               Secured: $0.00
                                                                                                                Priority: $0.00
                                                                                                   General Unsecured: $295.61

                                                                                                                 Total: $295.61


3   CITY OF DEARBORN             Henry Ford Village, Inc.                 248      4/7/2021              Administrative: $0.00      Disallow & Expunge     Satisfied in the
                                                                                                         Secured: $61,046.59                               Ordinary Course
                                                                                                                Priority: $0.00
                                                                                                     General Unsecured: $0.00

                                                                                                              Total: $61,046.59


4   COMERICA BANK                Henry Ford Village, Inc.                 250      4/12/2021             Administrative: $0.00      Disallow & Expunge    Satisfied by Cure
                                                                                                         Secured: $27,460.26
                                                                                                                Priority: $0.00
                                                                                                     General Unsecured: $0.00

                                                                                                              Total: $27,460.26


5   CONTROL SOLUTIONS, INC       Henry Ford Village, Inc.                  26      12/8/2020              Administrative: $0.00     Disallow & Expunge    Satisfied by Cure
                                                                                                               Secured: $0.00
                                                                                                                Priority: $0.00
                                                                                                General Unsecured: $45,000.00

                                                                                                              Total: $45,000.00


6   DAVID W. RINGE               Henry Ford Village, Inc.                 142      2/17/2021         Administrative: $45,000.00     Disallow & Expunge    Satisfied with Sale
                                                                                                                Secured: $0.00                                Proceeds
                                                                                                                  Priority: $0.00
                                                                                                     General Unsecured: $0.00

                                                                                                              Total: $45,000.00




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                                                                              Schedule 2
                                                                            Satisfied Claims
                                                                                                                                                             Reason for
    Name of Claimant           Debtor Name                    Schedule #   Claim #   Date Filed   Current Claim Amounts             Proposed Treatment        Objection
7   FORD MOTOR CREDIT COMPANY, Henry Ford Village, Inc.                      10      10/30/2020             Administrative: $0.00    Disallow & Expunge    Satisfied by Cure
    LLC [CAB WEST LLC]                                                                                           Secured: $0.00
                                                                                                                  Priority: $0.00
                                                                                                   General Unsecured: $8,898.60

                                                                                                                 Total: $8,898.60


8   FORD MOTOR CREDIT COMPANY, Henry Ford Village, Inc.                      9       10/30/2020             Administrative: $0.00   Disallow & Expunge     Satisfied by Cure
    LLC [CAB WEST LLC]                                                                                           Secured: $0.00
                                                                                                                  Priority: $0.00
                                                                                                  General Unsecured: $10,127.67

                                                                                                                Total: $10,127.67


9   GUARDIAN ALARM                 Henry Ford Village, Inc.    2377846                                      Administrative: $0.00   Disallow & Expunge     Satisfied by Cure
                                                                                                                 Secured: $0.00
                                                                                                                  Priority: $0.00
                                                                                                     General Unsecured: $216.10

                                                                                                                   Total: $216.10


10 HENRY FORD HEALTH SYSTEM        Henry Ford Village, Inc.    2377838                                      Administrative: $0.00   Disallow & Expunge     Satisfied by Cure
                                                                                                                 Secured: $0.00
                                                                                                                  Priority: $0.00
                                                                                                  General Unsecured: $26,750.09

                                                                                                                Total: $26,750.09


11 IPFS CORPORATION                Henry Ford Village, Inc.                 109       2/5/2021             Administrative: $0.00    Disallow & Expunge    Satisfied in Ordinary
                                                                                                          Secured: $242,657.81                                   Course
                                                                                                                  Priority: $0.00
                                                                                                       General Unsecured: $0.00

                                                                                                               Total: $242,657.81


12 NETSMART TECHNOLOGIES INC       Henry Ford Village, Inc.    2377890                                      Administrative: $0.00   Disallow & Expunge     Satisfied by Cure
                                                                                                                Secured: $0.00
                                                                                                                  Priority: $0.00
                                                                                                   General Unsecured: $6,547.95

                                                                                                                 Total: $6,547.95




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                                                                          Schedule 2
                                                                        Satisfied Claims
                                                                                                                                                         Reason for
   Name of Claimant            Debtor Name                Schedule #   Claim #   Date Filed   Current Claim Amounts             Proposed Treatment        Objection
13 OAKWOOD HOSPITAL            Henry Ford Village, Inc.    2377892                                      Administrative: $0.00    Disallow & Expunge    Satisfied by Cure
                                                                                                             Secured: $0.00
                                                                                                              Priority: $0.00
                                                                                                 General Unsecured: $400.40

                                                                                                               Total: $400.40


14 OTIS ELEVATOR CO            Henry Ford Village, Inc.    2377902                                      Administrative: $0.00   Disallow & Expunge     Satisfied by Cure
                                                                                                             Secured: $0.00
                                                                                                              Priority: $0.00
                                                                                               General Unsecured: $3,305.00

                                                                                                             Total: $3,305.00


15 STATE OF MICHIGAN           Henry Ford Village, Inc.    2377764                                     Administrative: $0.00    Disallow & Expunge    Satisfied Tax Claim
                                                                                                             Secured: $0.00
                                                                                                         Priority: $15,203.08
                                                                                                   General Unsecured: $0.00

                                                                                                            Total: $15,203.08


16 STEVEN KRANINGER            Henry Ford Village, Inc.                 216      3/17/2021             Administrative: $0.00    Disallow & Expunge    Satisfied with Sale
                                                                                                       Secured: $45,000.00                                Proceeds
                                                                                                              Priority: $0.00
                                                                                                   General Unsecured: $0.00

                                                                                                            Total: $45,000.00


17 WILLIAM BEAUMONT HOSPITAL   Henry Ford Village, Inc.                 324      4/26/2021              Administrative: $0.00   Disallow & Expunge     Satisfied by Cure
                                                                                                             Secured: $0.00
                                                                                                              Priority: $0.00
                                                                                              General Unsecured: $39,284.54

                                                                                                            Total: $39,284.54



   TOTALS                                                                                                        $579,021.50




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                                                                                            Schedule 3
                                                                                       Claims to be Modified


    Name of Claimant               Debtor Name                 Schedule #   Claim #   Date Filed     Current Claim Amounts               Proposed Claim Amounts                 Reason for Objection
1   ALTERNATIVE CONTRACTING        Henry Ford Village, Inc.                   335     6/23/2021           Administrative: $12,080.00                Administrative: $0.00     Reduce and/or Reclassify per
    INC.                                                                                                             Secured: $0.00                      Secured: $0.00       Debtor's Books and Records
                                                                                                                       Priority: $0.00                    Priority: $0.00
                                                                                                          General Unsecured: $0.00        General Unsecured: $12,080.00

                                                                                                                    Total: $12,080.00                   Total: $12,080.00


2   DETROIT GLASS & MIRROR         Henry Ford Village, Inc.                  296      4/20/2021                Administrative: $0.00                Administrative: $0.00     Reduce and/or Reclassify per
                                                                                                                   Secured: $0.00                       Secured: $0.00        Debtor's Books and Records
                                                                                                                     Priority: $0.00                      Priority: $0.00
                                                                                                      General Unsecured: $8,457.69         General Unsecured: $3,962.71

                                                                                                                     Total: $8,457.69                    Total: $3,962.71


3   GUNDERSON, INC DBA FLOWERS Henry Ford Village, Inc.                      347      9/1/2021               Administrative: $240.00              Administrative: $60.00      Reduce and/or Reclassify per
    ON THE AVENUE                                                                                                    Secured: $0.00                      Secured: $0.00       Debtor's Books and Records
                                                                                                                      Priority: $0.00                     Priority: $0.00
                                                                                                           General Unsecured: $0.00          General Unsecured: $180.00

                                                                                                                       Total: $240.00                      Total: $240.00


4   LEONARDS SYRUPS                Henry Ford Village, Inc.                  141      2/17/2021             Administrative: $313.20                Administrative: $36.40     Reduce and/or Reclassify per
                                                                                                                   Secured: $0.00                        Secured: $0.00       Debtor's Books and Records
                                                                                                                     Priority: $0.00                       Priority: $0.00
                                                                                                      General Unsecured: $1,639.50         General Unsecured: $1,916.30

                                                                                                                     Total: $1,952.70                    Total: $1,952.70


5   LIBERTY PLUMBING SUPPLY        Henry Ford Village, Inc.                  140      2/17/2021           Administrative: $3,616.64             Administrative: $3,616.64     Reduce and/or Reclassify per
                                                                                                                    Secured: $0.00                        Secured: $0.00      Debtor's Books and Records
                                                                                                                      Priority: $0.00                       Priority: $0.00
                                                                                                         General Unsecured: $53.25             General Unsecured: $0.00

                                                                                                                     Total: $3,669.89                    Total: $3,616.64


6   MEDICAL STAFFING NETWORK       Henry Ford Village, Inc.                  333      6/2/2021                 Administrative: $0.00                Administrative: $0.00     Reduce and/or Reclassify per
                                                                                                                    Secured: $0.00                       Secured: $0.00       Debtor's Books and Records
                                                                                                                     Priority: $0.00                      Priority: $0.00
                                                                                                     General Unsecured: $18,697.13        General Unsecured: $13,025.13

                                                                                                                    Total: $18,697.13                   Total: $13,025.13




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                                                                                        Claims to be Modified


    Name of Claimant                Debtor Name                 Schedule #   Claim #   Date Filed     Current Claim Amounts               Proposed Claim Amounts                Reason for Objection
7   METRO CARBONIC                  Henry Ford Village, Inc.                   249      4/8/2021            Administrative: $2,325.00               Administrative: $0.00     Reduce and/or Reclassify per
                                                                                                                      Secured: $0.00                      Secured: $0.00      Debtor's Books and Records
                                                                                                                        Priority: $0.00                    Priority: $0.00
                                                                                                          General Unsecured: $72.54            General Unsecured: $72.54

                                                                                                                      Total: $2,397.54                       Total: $72.54


8   MODERNISTIC CLEANING            Henry Ford Village, Inc.                  122      2/11/2021                Administrative: $0.00                Administrative: $0.00    Reduce and/or Reclassify per
    SERVICES INC                                                                                                    Secured: $0.00                       Secured: $0.00       Debtor's Books and Records
                                                                                                                      Priority: $0.00                      Priority: $0.00
                                                                                                       General Unsecured: $5,209.72         General Unsecured: $1,175.31

                                                                                                                      Total: $5,209.72                    Total: $1,175.31


9   ONEDAY [MY LASTING LEGACY]      Henry Ford Village, Inc.                  339      7/22/2021              Administrative: $206.25                Administrative: $0.00    Reduce and/or Reclassify per
                                                                                                                      Secured: $0.00                      Secured: $0.00      Debtor's Books and Records
                                                                                                                       Priority: $0.00                     Priority: $0.00
                                                                                                            General Unsecured: $0.00          General Unsecured: $206.25

                                                                                                                        Total: $206.25                      Total: $206.25


10 STAPLES BUSINESS ADVANTAGE Henry Ford Village, Inc.                         38      12/15/2020          Administrative: $1,017.06                 Administrative: $0.00    Reduce and/or Reclassify per
                                                                                                                     Secured: $0.00                      Secured: $0.00       Debtor's Books and Records
                                                                                                                       Priority: $0.00                     Priority: $0.00
                                                                                                       General Unsecured: $2,624.80         General Unsecured: $2,624.80

                                                                                                                      Total: $3,641.86                    Total: $2,624.80


11 TIMEPAYMENT CORP.                Henry Ford Village, Inc.                  344      8/19/2021                Administrative: $0.00                Administrative: $0.00    Reduce and/or Reclassify per
                                                                                                                     Secured: $0.00                       Secured: $0.00      Debtor's Books and Records
                                                                                                                      Priority: $0.00                      Priority: $0.00
                                                                                                      General Unsecured: $11,676.58           General Unsecured: $336.31

                                                                                                                     Total: $11,676.58                      Total: $336.31


12 UNITED FISH DISTRIBUTORS INC Henry Ford Village, Inc.                      126      2/11/2021           Administrative: $6,421.92            Administrative: $6,421.92     Reduce and/or Reclassify per
                                                                                                                     Secured: $0.00                       Secured: $0.00      Debtor's Books and Records
                                                                                                                       Priority: $0.00                      Priority: $0.00
                                                                                                      General Unsecured: $12,067.69        General Unsecured: $10,355.00

                                                                                                                     Total: $18,489.61                   Total: $16,776.92




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                                                                                  Schedule 3
                                                                             Claims to be Modified


   Name of Claimant      Debtor Name                 Schedule #   Claim #   Date Filed     Current Claim Amounts               Proposed Claim Amounts               Reason for Objection
13 W.W. GRAINGER, INC.   Henry Ford Village, Inc.                    1      11/4/2020            Administrative: $2,213.30                Administrative: $0.00   Reduce and/or Reclassify per
                                                                                                           Secured: $0.00                     Secured: $0.00      Debtor's Books and Records
                                                                                                             Priority: $0.00                    Priority: $0.00
                                                                                            General Unsecured: $5,629.73         General Unsecured: $7,843.03

                                                                                                           Total: $7,843.03                    Total: $7,843.03



   TOTALS                                                                                                       $94,562.00                          $63,912.34




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